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                        IN THE FRANKLIN COUNTY COURT OF COMMON PLEAS
                                       GENERAL DIVISION

           TIMOTHY L. HAWKINS,                                )       Case No.
           426 Earimont Place,
           Davenport, Florida 33896                           )       Judge
                                                              )
                                 Plaintiff,

                         v.
                                                              )
           BRYAN WILLIAMS,
           Columbus, Ohio, Division of Police Officer,
           in his personal capacity,
           120 Marconi Blvd.,
           Columbus, OH 43215.                                1)

                  and                                         I)
                                                              )
           RAY MEISTER,
           Columbus, Ohio, Division of Police Sergeant,
           in his personal capacity,
           120 Marconi Blvd.,
           Columbus, OH 43215,                                )

                                 Defendailts.                 )

                         COMPLAINT WITH JURY DEMAND ENDORSED HEREON

           I.     INTRODUCTION

                  1.     This is an action for compensatory and punitive damages arising from the false

           arrest and malicious prosecution, in violation of the common law of Ohio, Ohio Revised Code

           sections 2921.45 and 2307.60, and the Fourth and Fourteenth Amendments to the United States

           Constitution, of Plaintiff Timothy L. Hawkins by Defendants Bryan Williams, a Columbus

           Division of Police detective, and Ray Meister, a Columbus Division of Police sergeant.

                  On September 15, 2020, Mr. Hawkins was arrested at his home in Florida by U.S.

           Marshals and detained based upon a complaint and warrant improperly obtained by the

           Defendants using false and inaccurate information. The Defendants intentionally or recklessly
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       caused Mr. Hawkins to be arrested, intrusively searched, and detained in a Florida jail for seven

       days at the height of a deadly global pandemic, and prosecuted on a false robbery charge despite

       obvious evidence demonstrating that Mr. Hawkins did not match the physical description or any

       other identifying characteristics of the actual perpetrator of the crime for which he was arrested.

       II.    PARTIES AND VENUE

              2.      Plaintiff Timothy L. Hawkins is an African-American male resident of Florida.

              3.      Defendant Bryan Williams is a police officer employed by the Columbus Division

       of Police ("CPD"), the primary law enforcement agency for the City of Columbus, Ohio. At all

       times material to this case, Defendant Williams acted under color of state law. Defendant

       Williams is sued in his personal capacity.

              4.      Defendant Ray Meister is a police sergeant employed by the CPD. At all times

       material to this case, Defendant Meister acted under color of state law. Defendant Meister is

       sued in his personal capacity.

              5.      Venue is appropriate in this Court as the Defendants are located in Franklin

       County, Ohio, and committed the unlawful acts alleged below in Franklin County.

       III. FACTS

              6.      On September 15, 2020, Plaintiff Timothy L. Hawkins was arrested at his home in

       Orlando, Florida. He and his wife were held at gunpoint by United States Marshals. He was

       then handcuffed, transferred to the custody of Florida state highway patrol officers, and brought

       to a local detention facility, the Orange County Corrections Facility.

              7.      Upon his arrival at the corrections facility, Mr. Hawkins was subjected to an

       intrusive strip search and body cavity inspection.
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                  8.      Mr. Hawkins remained in the corrections facility for seven days. He could not

           bathe for multiple days, and was held in cold, unsanitary conditions, at the height of the global

           corona virus pandemic, throughout his incarceration.

                  9.      After seven days, Mr. Hawkins was released from custody due to the dismissal of

           all charges against him by a Franklin County, Ohio judge.

                  10.     The reason the charges against Mr. Hawkins were dismissed was that he was very

           obviously not the perpetrator of the crime with which he was charged.

                  11.     Mr. Hawkins's prosecution, arrest, and detention by federal and Florida law

           enforcement officials occurred because of the intentional or reckless violation of his rights by the

           Defendants, Columbus Division of Police Officer Bryan Williams and Sergeant Ray Meister.

                  12.     On or about July 31, 2020, Defendant Williams swore out felony charges and

           submitted an affidavit of probable cause in Franidin County Municipal Court, alleging that Mr.

           Hawkins committed two counts of aggravated robbery, a first degree felony under Section

           2911.01(A)( 1) of the Ohio Revised Code, by brandishing a firearm after stealing property from

           two men, David Fuller and Gabriel Kemokei in November 2019 in the Livingston-McNaughten

           neighborhood on the far eastern outskirts of Columbus.

                  13.     Defendant Williams filed the felony charges against Mr. Hawkins directly in the

           municipal court; no grand jury indictment was obtained.

                  14.     The officers who took the report at the scene of the November 2019 robbery

           reported the names and physical descriptions of two men and a woman who were the reported

           perpetrators of the theft and robbery of Mr. Fuller and Mr. Kemokei. The two men were

           reported to be named "Timothy Ethan" and "Janile Sharals Johnson," and both were listed with

           physical descriptions including heights of six foot one (for Ethan) and six foot three (for
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           Johnson). Timothy Ethan was listed as having an age of 30, while Sharals Johnson was listed

           with a specific birthdate in 1985 that made his age 33 at the time.

                  15.     The report's listing of "Jamle Sharals Johnson" also listed an address

           corresponding to a residence of Jamale Sharals Johnson, an individual with a prior property

           crime conviction in Franklin County, who had no connection of any kind to Mr. Hawkins.

                  16.     Mr. Hawkins did not know anyone by the names reported to the officers at the

           scene, and he did not match their physical descriptions. He turned 37 in November 2019, and his

           driver's license accurately lists his height as only five foot five-8 inches shorter than the shorter

           of the two alleged perpetrators.

                  17.     Mr. Hawkins did not rob or steal property from anyone and did not know Mr.

          Fuller or Mr. Kemokei. He lived in northeast Columbus at the time, nowhere near the scene of

          the crime, and worked in Westerville. He had no relationship to the crimes committed against

          these men; nor did Defendant Williams have any reason to believe that he did.

                  18.     At some time between November 2019 and July 2020, Defendant Williams, then

          a CPD detective, was assigned the investigation of the robbery of Mr. Fuller and Mr. Kemokei.

                  19.     Defendant Williams was apparently unable to identify suspects matching the

          names and physical descriptions given by the alleged victims. Upon information and belief.

          Defendant Williams did not locate or interview Mr. Sharals Johnson, who was arrested in

          Warren County, Ohio in March 2020 on a domestic violence charge.

                  20.     Defendant Williams claimed in his probable cause affidavit, contrary to the

          original police report, that Mr. Fuller said one of the perpetrators was an acquaintance named

          Timothy Hawkins (rather than "Timothy Ethan," the name in the report), and also claimed that

          Mr. Fuller identified Mr. Hawkins's face when it was shown to him in a photo array.



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                  21.     Defendant Williams had no reason to place Mr. Hawkins's face in a photo array;

           he had no known connection to Mr. Fuller, Mr. Kemokei, or Mr. Sharals Johnson, no history of

           committing similar acts, and no connection to the neighborhood where the crime occurred.

                  22.     Most or all of the above facts were readily apparent on the face of the charging

           documents and original police report.

                  23.     By July 31, 2020, when Defendant Williams filed the charges against Mr.

           Hawkins, Mr. Hawkins and his family had relocated to Orlando, Florida.

                  24.     In August 2020, Mr. Hawkins received an unsolicited mailing to his Florida

           address from a criminal defense attorney offering to assist him with the felony charges pending

           against him. This was the first time he became aware of the charges, the November 2019

           robbery, or any criminal investigation of him.

                  25.     Mr. Hawkins obtained criminal defense counsel, who attempted to contact the

           Franidin County Prosecutor's Office to inform the office that Mr. Hawkins was being wrongly

           prosecuted and that he was prepared to voluntarily appear in court in Columbus without the need

           for an arrest. The prosecutor's office directed Mr. Hawkins's counsel to the CPD and indicated

           they could not act on Mr. Hawkins's counsel's request without input from the CPD.

                  26.     Mr. Hawkins's counsel contacted Defendant Williams, but Defendant Williams

           informed him that he was now in a different assignment with the CPD helicopter unit, and

           advised Mr. Hawkins's counsel to contact Defendant Meister, the sergeant for his former unit.

                  27.     Mr. Hawkins's counsel contacted Defendant Meister. He informed Defendant

           Meister that Mr. Hawkins was not connected in any way to the charges filed against him, had a

           record of steady employment, no motive, and no relationship to the victims. He therefore asked

           Defendant Meister to provide information about the alleged photo array through which Mr.
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           Hawkins was identified, and asked that Mr. Hawkins be allowed to appear voluntarily in the

           Franklin County Municipal Court without being arrested in Florida and extradited.

                   28.    Defendant Meister responded to Mr. Hawkins's counsel and refused his requests,

           claiming that he could not allow Mr. Hawkins to appear in court voluntarily without being

           arrested, processed, given his Miranda rights, and interviewed. He claimed the CPD was not

           authorized to deviate from this procedure.

                  29.     Upon information and belief, Defendant Meister did nothing to seek any deviation

           from the arrest procedures applicable to out-of-state fugitives, despite knowing Mr. Hawkins was

           prepared to cooperate and travel voluntarily to Ohio for a court appearance. Nor did he inform

           Florida or federal authorities of Mr. Hawkins's offer to cooperate.

                  30.     After Mr. Hawkins was forcibly arrested on September 15, 2020, his counsel was

           able to obtain the records showing that the perpetrator identified by the victims of the November

           2019 robbery was much taller, much younger, and had a different name than Mr. Hawkins.

                  31.     When presented with this exculpatory evidence, the Franklin County Municipal

           Court advised prosecutors to dismiss the charges against Mr. Hawkins, and they did so, resulting

           in dismissal of all charges against Mr. Hawkins on September 21, 2020. Mr Hawkins was then

           released from the Orange County Corrections Facility.

                  32.     The actions of the Defendants, including knowingly disregarding exculpatory

           information and knowingly making false claims to manufacture probable cause against the

           Plaintiff, were wanton, willful, reckless, in bad faith, and in knowing violation of his rights.

                  33.     The actions of the Defendants have caused the Plaintiff loss of liberty, anxiety,

           anger, humiliation, reputational harm, and stress.
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                   34.     As of the date of this filing, nearly nine months after the Defendants' actions

            resulted in the prosecution and wrongful arrest of the wrong person, the CPD has still not

            arrested or prosecuted either of the alleged actual perpetrators, despite having a name, address,

            and birthdate for one of them. Upon information and belief, the CPD has not even resumed

            investigating the identity of the actual perpetrators, who are likely still at large. The Plaintiff was

            prosecuted, arrested, and detained for no purpose whatsoever.

            IV.    CLAIMS FOR RELIEF

                   FEDERAL CLAIM FOR RELIEF: VIOLATION OF CIVIL RIGHTS

                   35.     The preceding paragraphs are hereby incorporated and re-alleged.

                   36.     The actions of the Defendants in initiating and persisting in the prosecution of the

            Plaintiff without probable cause, directly causing his wrongful arrest, the seizure of his person,

            and multiple deprivations of his liberty, violated the Fourth and Fourteenth Amendments to the

            U.S. Constitution.

                    37.     The Plaintiff's false arrest and malicious prosecution in violation of the Fourth

            and Fourteenth Amendments to the U.S. Constitution are actionable under 42 U.S.C. § 1983.

                    FIRST STATE CLAIM FOR RELIEF: BATTERY

                    38.     The preceding paragraphs are hereby incorporated and re-alleged.

                    39.     The actions of the Defendants in causing the seizing, handcuffing, arresting, and

            intrusive searching of the Plaintiff without his consent constituted a battery.

                    SECOND STATE CLAIM FOR RELIEF: FALSE ARREST & IMPRISONMENT

                    40.     The preceding paragraphs are hereby incorporated and re-alleged.
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                   41.      The actions of the Defendants in causing the arrest, handcuffing, and sustained

           detention of the Plaintiff against his will constituted false arrest and false imprisonment for

           which the Defendants are liable to the Plaintiff.

                   THIRD STATE CLAIM FOR RELIEF: MALICIOUS PROSECUTION

                   42.      The preceding paragraphs are hereby incorporated and re-alleged.

                   43.      Defendant Williams's filing of and persisting in felony charges against the

           Plaintiff under the supervision and with the active participation of Defendant Meister, without

           probable cause and with malice, constituted malicious prosecution for which the Defendants are

           liable to the Plaintiff.

                   FOURTH STATE CLAIM FOR RELIEF: CRIMINAL CONDUCT

                   44.     The preceding paragraphs are hereby incorporated and re-alleged.

                   45.     The actions of the Defendants described above violated Ohio Revised Code

           Section 2921.45, which makes it a crime for Ohio public servants to knowingly deprive,

           conspire, or attempt to deprive any person of a constitutional or statutory right, and Section

           292 1.13(A)(2), which makes it a crime for any person to knowingly make a false statement or

           swear or affirm to the truth of a previously made false statement with purpose to incriminate

           another. Such criminal conduct is actionable pursuant to Section 2307.60 of the Revised Code.

           V.      PRAYER FOR RELIEF

                   46.     WHEREFORE, the Plaintiff asks for judgment against the Defendants and

           requests compensatory and punitive damages in excess of $25,000; the costs of this action,

           including reasonable attorney's fees; and any other relief the Court deems appropriate.

                                                                         Respectfully Submitted,

                                                                         s/Frederick M. Gittes
                                                                         Frederick M. Gittes (0031444)
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                                                                        723 Oak St.
                                                                        Columbus, OH 43205
                                                                        (614) 222-4735
                                                                        Fax: (614) 221-9655
                                                                        Attorneys for Plaintiff Hawkins


                                                  JURY DEMAND

                  The Plaintiff hereby demands a jury of eight (8) to determine all issues triable by jury in

           this matter.

                                                                        s/Frederick M. Gittes
                                                                        Frederick M. Gittes (0031444)
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                             In the Court of Common Pleas, Franklin County, Ohio, General Division
           Timothy L. Hawkins
                                          Plaintiff/Appellant,


           vs.                                                                   Case No.
           Bryan Williams & Ray Meister
                                          Defendant/Appellee,

                                                   Civil Case Filing Information Summary

           Type of Action/Case Classification:

                      Professional Tort (Type A)                                  Product Liability (Type B)
                     ($225.00 Security Deposit Required)                         ($225.00 Security Deposit Required)

           x        Other Torts (Type C)                                          Workers Compensation (Type D)
                     ($225.00 Security Deposit Required)                         ($225.00 Security Deposit Required)

                    Foreclosure (Type E)                                         Administrative Appeal (Type F)
                     ($300.00 Security Deposit Required)                         ($100.00 Security Deposit Required)

                      All Other Civil Cases (Type H)                              Cognovit Confession of Judgment (H)
                     ($225.00 Security Deposit Required)                         ($100.00 Security Deposit Required)

           JURY DEMAND?                                 Yes                      Total Security Deposit $                 525.00
           ($300.00 Additional Security Deposit Required) (Yes or No)

           Is a TEMPORARY RESTRAINING ORDER being requested at this time?                                              No
                                                                                                                               (Yes or No)
           Is this a case in which ALL the issues presented are a result of the
           defendant(s) having signed and defaulted on a COGNOVIT NOTE?                                                   No
                                                                                                                               (Yes or No)
           Is this a FORCIBLE ENTRY AND DETAINER case?                                                                 No
                                                                                                                               (Yes or No)
           Does this case include allegations of CONSUMER SALES PRACTICES
           ACT violations under Chapter 1345 or any other statutory consumer
           protection provision of the Ohio Revised Code?                                                              No
                                                                                                                               (Yes or No)
           Refiling Information:

           If this is a REFILING of a previously dismissed case, please complete the following:
           Previous Case No.                                                     Original Judge
                                          Digtally signed by yredenck M. Gibes
           Frederick I\1. G itte          Date: 20210730 11:18:56 -0400'         0031444
           Attorney/Party Signature                                              Atiorney Ohio Sup. Ct Registration No.

           Frederick M. Gittes                                                   614-222-4735
           Attorney/Party Name (Type or Print)                                   Telephone Number

           The Gittes Law Group, 723 Oak Street                                  614-221-9655
           Mailing Address                                                       Facsimile Number

           Columbus                                     OH           43205
           City                                        State        Zip Code
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